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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 21-61747-CIV-SINGHAL/VALLE

  HOWARD COHAN,

         Plaintiff,

  v.

  FIRST COAST ENERGY LLP,

       Defendant.
  _______________________________/

                         ORDER OF DISMISSAL WITH PREJUDICE

         THIS CAUSE is before the Court on Plaintiff’s Notice of Voluntary Dismissal with

  Prejudice (DE [17]). In light of the Notice, it is hereby

         ORDERED AND ADJUDGED that this matter is DISMISSED WITH PREJUDICE.

  The Clerk of Court is directed to CLOSE this case and DENY AS MOOT any pending

  motions.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 29th day of

  October 2021.




  Copies furnished to counsel of record via CM/ECF
